Plaintiff in error was convicted in the county court of Garvin county on two indicements in each of which he is charged with the unlawful sale of intoxicating liquor to one John Lee.
In case No. A-2691, the jury assessed his punishment at confinement in the county jail for ninety days and a fine of two hundred and fifty dollars.
In case No. A-2692, the jury assessed his punishment at confinement in the county jail for eighty-five days and a fine of two hundred and forty-one dollars.
From the judgments rendered on said verdicts appeals were perfected by filing in this court on March 27, 1916 petitions in error with case-mades. *Page 613 
Plaintiff in error by his attorney of record has filed motions to dismiss his appeals. The motions to dismiss are granted, and said appeals are ordered dismissed with directions to the trial court to cause its judgments therein to be carried into execution as by law provided. Mandate forthwith.